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                           CA SE N O .21-61644-CV-SINGHAL/VALLE
                                      :


  SEC UR ITIES A N D EX C H AN G E C O M M ISSIO N.

                                      Plaintiff,



  M J CA PITAL FUN D IN G ,LLC ,
  M J TAX ES A N D M O R E IN C .,and
  JO H A N NA M .G A R CIA ,

                                      Defendants.


                 EX H IBITS IN SU PPO RT O F PLA IN TIFF SEC UR ITIES AN D
             EX C H AN G E C O M M ISSIO N 'S EM ERG EN CY EX PAR TE M O TIO N
           FO R TEM PO R AR Y R ESTR AIN IN G O R D ER A N D O T H ER REL IEF A ND
                          SU PPO R TING M EM O R AN D UM O F LA W


      1        M J CapitalFlolida Corporate Filing

      2        M J CapitalFunding,LLC )'.Doe,No.0:21-cv-60841-AHS (S.D .F1a.)Garcia
               D eclaration,DE 22-2

      3        M J Taxes Florida Cop orate Filing

      4        D eclaration ofJulia D 'Antonio

      5        June 2020 Loan A greem ent

      6        July 2020 Loan A greem ent

       7       Septelnber 2020 Loan A m eem ent

       8       O ctober2020 Sam ple M erchantCash A dvanced Agreem ent

       9       April2021 M erchantCash Advance A greem ent
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                                                                             ReferralProgram A greem ent

                                                    13                       DeclarationofRaymondAndjich
                                                    14                       M ay 12,2021 M J CapitalW ebsite Capture and A ttestation

                                                    15                       N ovem ber26,2020 M J CapitalA rchived W ebsite Capture and A ttestation

                                                    16                       D ecem ber5,2020 M J CapitalArchived W ebsite Capture and Attestation

                                                    17                       January 26,2021 M J CapitalA rchived W ebsite Capture and A ttestation

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                                                                                                     '.Doe,No.0:21-cv-60841-AHS (S.D .F1a.)Com plaint,
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                                                   25                         SEC A ttestation forM JCapitalFunding LLC

                                                   26                         SEC A ttestation forM JTaxes and M ore lnc.




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